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                                                                                   10
                            UNITED STATES DISTRICT                COUR1.
                                    WESTERN DISTRICT OF TEXAS
                                      SAN ANTONIO DIVISION

United States of America                           §
      Plaint   ff                                  §
                                                   §
VS.
                                                   §     Case Number: SA:2 1 -CR-00 170(1 )-XR
                                                   §
(1) Caitlyn Deanna Cobb                            §
      Defendant



                           ORDER RESETTING ARRAIGNMENT

           IT IS HEREBY ORDERED that the above entitled and numbered case is set for
11:30 AM, in Courtroom B, on the 4th Floor in the John H. Wood, Jr. United States Courthouse,
655 East Cesar E. Chavez Boulevard, San Antonio, TX on Wednesday, May 12, 2021.


             IT IS FURTHER ORDERED that the Clerk of Court shall send a copy of this order
to counsel for defendant, the United States Attorney, U.S. Pretrial Services, United States
Probation Office, and any surety or custodian, if applicable. Further, counsel for the defendant
shall notify the defendant of this setting. If the defendant is on bond, he/she shall be present.


                    IT IS SO ORDERED this 5th day of May, 2021.




                                                  ELIZABTH S. ("BETSY")TNEY
                                                  UNITED STATES MAGIST              JUDGE
                 Case 5:21-cr-00170-XR Document 33 Filed 05/05/21 Page 2 of 3




6/7/2011 Notice of Waiver of Personal Appearance at AlTaignment



                                            UNITED STATES DISTRICT COURT
                                             WESTERN DISTRICT OF TEXAS
                                                SAN ANTONIO DIVISION


United States of America                                          §
                                                                  §
vs.                                                               §   Case Number: SA:21-CR-00170(1)-XR
                                                                  §
(1) Caitlyn Deanna Cobb                                           §

       NOTICE OF WAIVER OF PERSONAL APPEARANCE AT ARRAIGNMENT AND
                       ENTRY OF PLEA OF NOT GUILTY
                     WAIVER OF MINIMUM TIME TO TRIAL

       NOW COMES Defendant in the above-referenced case who, along with his/her
undersigned attorney, hereby acknowledges the following:

                 Defendant has received a copy of the charging document in this case.
                   1)
            2) Defendant has read the charging document or had it read to him/her.
            3) Defendant understands he/she has the right to appear personally with his/her
attorney before a Judge for Arraignment in open Court on this accusation. Defendant further
understands that, absent the present waiver, he/she will be so arraigned in open Court.

            Defendant, having conferred with his/her attorney in this regard, hereby waives
personal appearance with his/her attorney at the arraignment of this case and the reading of the
charging document and, by this instrument, tenders his/her plea of "not guilty". The defendant
understands that entry by the Court of said plea for defendant will conclude the arraignment in
this case for all purposes. Defendant request the Court accept his/her waiver of appearance and
entere a plea of "not guilty."


Date                                                              Defendant

                                                                  Name of Attorney for Defendant (Print)

Date                                                              Signature of Attorney for Defendant


ALL WAIVER FORMS MUST BE FILED IN THE CLERK'S OFFICE NO LATER THAN
5:00 P.M. ON THE DAY BEFORE THE SCHEDULED DATE OF ARRAIGNMENT. IF A
WAIVER FORM IS NOT SUBMITTED BY THAT TIME, THE DEFENDANT AND
DEFENDANT'S ATTORNEY MUST APPEAR FOR THE ARRAIGNMENT AS
SCHEDULED.
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6/7/2011 Notice of Waiver of Personal Appearance at Arraignment                                            Page 2



              4) Defendant understands that he/she has a right to a minimum period of time to
trial so that trial shall not commence less than thirty (30) days from the date on which the
defendant first appears through counsel or expressly waives counsel and elects to proceed pro Se.
Defendant further understands that, absent the present waiver, he/she will not be brought to trial
during this thirty (30)-day period.

            Defendant, having conferred with his/her attorney in this regard, hereby WAIVES
the requirement that trial shall not commence less than thirty (30) days from the date on which
the defendant first appears through counselor expressly waives counsel and elects to proceed
pro Se.


Date                                                              Defendant

                                                                  Name of Attorney for Defendant (Print)

Date                                                              Signature of Attorney for Defendant



                                            NOTICE OF RIGHT TO CONSENT
                                          TO DISPOSITION OF A MISDEMEANOR

            The U.S. Magistrate Judge may conduct proceedings in any and all Class A
misdemeanor cases, including a jury or non-jury trial, if the defendant voluntarily consents
thereto, and for Class B and C misdemeanors and infractions regardless of consent.

                  PLEASE INDICATE ONE OF THE FOLLOWING WITH A CHECK MARK:

                          I DO CONSENT TO MAGISTRATE JUDGE JURISDICTION.
                          I DO NOT CONSENT TO MAGISTRATE JUDGE JURISDICTION.

NO RESPONSE OR OMISSION OF THIS PAGE WILL BE INTERPRETED AS NOT
CONSENTING TO MAGISTRATE JUDGE JURISDICTION AND CASE WILL BE
ASSIGNED TO A U.S. DISTRICT JUDGE.



Date                                                              Defendant

                                                                  Name of Attorney for Defendant (Print)

Date                                                              Signature of Attorney for Defendant
